






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-03-00071-CR






Eddie Wayne Palmer, Appellant



v.



The State of Texas, Appellee






FROM THE DISTRICT COURT OF BELL COUNTY, 27TH JUDICIAL DISTRICT


NO. 53,037, HONORABLE JOE CARROLL, JUDGE PRESIDING






M E M O R A N D U M   O P I N I O N



Appellant Eddie Wayne Palmer pleaded guilty to stealing property worth more than
$1500.  See Tex. Pen. Code Ann. § 31.03(a), (e)(4)(A) (West 2003).  The court adjudged him guilty
and sentenced him to two years in state jail.

Appellant's court-appointed attorney filed a brief concluding that the appeal is
frivolous and without merit.  The brief meets the requirements of Anders v. California, 386 U.S. 738
(1967), by presenting a professional evaluation of the record demonstrating why there are no
arguable grounds to be advanced.  See also Penson v. Ohio, 488 U.S. 75 (1988); High v. State, 573
S.W.2d 807 (Tex. Crim. App. 1978); Currie v. State, 516 S.W.2d 684 (Tex. Crim. App. 1974);
Jackson v. State, 485 S.W.2d 553 (Tex. Crim. App. 1972); Gainous v. State, 436 S.W.2d 137 (Tex.
Crim. App. 1969).  A copy of counsel's brief was delivered to appellant, and he was advised of his
right to examine the appellate record and to file a pro se brief.  No pro se brief has been filed.

We have reviewed the record and counsel's brief and agree that the appeal is frivolous
and without merit.  We find nothing in the record that might arguably support the appeal.

The judgment of conviction is affirmed.



				__________________________________________

				Bea Ann Smith, Justice

Before Chief Justice Law, Justices B. A. Smith and Patterson

Affirmed

Filed:   December 4, 2003

Do Not Publish


